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8                            UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
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11    YOLANDA NUNEZ,                                )   No. 2:20-cv-02137-VEB
12                                                  )
            Plaintiff,                              )   ORDER AWARDING EAJA FEES
13                                                  )
14          v.                                      )
                                                    )
15
      ANDREW SAUL,                                  )
16    Commissioner of Social Security,              )
17
                                                    )
            Defendant.                              )
18                                                  )
19
20          Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
21          IT IS ORDERED that EAJA fees are awarded in the amount of $2,026.35 and
22    costs are awarded in the amount of $400.00 subject to the terms of the Stipulation.
23
24          Dated this 12th day of January, 2021,
25
                                            /s/Victor E. Bianchini
26                                          VICTOR E. BIANCHINI
27
                                            UNITED STATES MAGISTRATE JUDGE

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